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                                                                9

                                                                10                                UNITED STATES DISTRICT COURT

                                                                11                               NORTHERN DISTRICT OF CALIFORNIA
                           Los Angeles, California 90071-2627
                           550 South Hope Street, Suite 2000
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                                                                12                                    SAN FRANCISCO DIVISION

                                                                13   WHATSAPP LLC, a limited liability company       CASE NO.: 3:22-CV-05711
                                                                     organized under the laws of Delaware, and
                                                                14   META PLATFORMS, INC. a Delaware                 COMPLAINT; DEMAND FOR JURY TRIAL
                                                                     corporation,
                                                                15

                                                                16                 Plaintiffs,

                                                                17          v.

                                                                18   ROCKEY TECH HK LTD., a private limited
                                                                     company organized under the laws of Hong
                                                                19   Kong, China, BEIJING LUOKAI
                                                                20   TECHNLOGY CO., LTD., a limited liability
                                                                     company organized under the laws of China,
                                                                21   CHITCHAT TECHNOLOGY LTD., a limited
                                                                     liability company organized under the laws of
                                                                22   Taiwan, collectively d/b/a “HeyMods,”
                                                                     “Highlight Mobi,” and “HeyWhatsApp,”
                                                                23

                                                                24                 Defendants.

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                                                                1                                            INTRODUCTION

                                                                2           1.      Beginning no later than May 2022 and continuing until at least July 2022, the

                                                                3    Defendants (collectively doing business as “HeyMods,” “Highlight Mobi,” and “HeyWhatsApp”)

                                                                4    misled over one million WhatsApp users into self-compromising their accounts as part of an account

                                                                5    takeover attack. The self-compromised accounts were then used to send commercial spam

                                                                6    messages. Defendants facilitated the attack by developing and distributing “unofficial” versions of

                                                                7    the WhatsApp application on their website, heymods.com, and on third-party platforms, including

                                                                8    the Google Play Store, APK Pure, APKSFree, iDescargar, and Malavida. Exhibits A-C.1

                                                                9    Defendants developed and distributed multiple versions of at least two malicious applications, called

                                                                10   “AppUpdater for WhatsPlus 2021 GB Yo FM HeyMods” and “Theme Store for Zap” (collectively,

                                                                11   “Malicious Applications”), and misused and infringed WhatsApp’s trademarks. Exhibits B-C. The
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                                                                12   Malicious Applications contained malware and, once installed, were designed to collect the victims’

                                                                13   account authentication information, in order to take over the victims’ WhatsApp accounts for

                                                                14   unauthorized use, including sending commercial spam messages.

                                                                15          2.      According to online sources, account takeover attacks have been on the rise across all

                                                                16   industries and cost online businesses and consumers billions of dollars in losses annually. Recent

                                                                17   reports show that account takeover fraud has increased by 148% in 2021. See

                                                                18   https://www.globenewswire.com/en/news-release/2021/02/09/2172197/0/en/NewData-from-Arkose-

                                                                19   Labs-Shows-Increased-Fraud-Across-All-Industries-Since-BlackFriday-with-Gift-Card-Fraud-and-
                                                                20   Account-Takeover-Attacks-Surging.html; https://techwireasia.com/2022/05/bad-bots-bad-bots-

                                                                21   whatcha-gonna-do/; https://www.forbes.com/sites/forbescommunicationscouncil/2022/07/18/the-

                                                                22   account-takeover-epidemic-a-wake-up-call-for-chief-digital-officers/?sh=5a1bf0244196.

                                                                23          3.      Plaintiffs WhatsApp LLC (“WhatsApp”) and Meta Platforms, Inc. (“Meta”) have

                                                                24   previously disabled Defendants’ accounts and reported the Malicious Applications to the Google

                                                                25   Play Store and other third-party platforms. On July 11, 2022, WhatsApp issued a public

                                                                26   announcement warning its users not to download “fake or modified version[s] of WhatsApp,”
                                                                27

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                                                                      Exhibits A, D-K and Figure Nos. 1-2 reflect machine translations using open source tooling to
                                                                     convert Mandarin text to English.
                                                                                                                      1                                    3:22-CV-05711
                                                                                                   COMPLAINT; DEMAND FOR JURY TRIAL
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                                                                1    including Defendants’ HeyWhatsApp application. See https://twitter.com/wcathcart/status/

                                                                2    154656795567 1961600. Plaintiffs bring this action to protect users and hold Defendants

                                                                3    accountable for violations of Meta’s Terms of Service and Platform Terms, and WhatsApp’s Terms

                                                                4    of Service (collectively, the “Terms”).

                                                                5                                                 PARTIES

                                                                6           4.      Meta is a Delaware corporation with its principal place of business in Menlo Park,

                                                                7    San Mateo County, California. Meta acts as WhatsApp’s service provider for security-related issues.

                                                                8           5.      WhatsApp is a limited liability company organized under the laws of Delaware with

                                                                9    its principal place of business in Menlo Park, San Mateo County, California.

                                                                10          6.      Defendant Rockey Tech HK Ltd. (“Rockey Tech”) is a private limited company

                                                                11   organized under the laws of Hong Kong, China with its principal place of business in Hong Kong,
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                                                                12   China. Exhibits D-E.

                                                                13          7.      Defendant Beijing Luokai Technology Co., Ltd. (“Luokai Technology”) is a limited

                                                                14   liability company organized under the laws of China with its principal place of business in Beijing,

                                                                15   China. Exhibit F.

                                                                16          8.      Defendant ChitChat Technology Ltd. (“ChitChat Technology”) is a limited liability

                                                                17   company organized under the laws of Taiwan with its principal place of business in Taipei City,

                                                                18   Taiwan. Exhibit G. On information and belief, ChitChat Technology also does business under the

                                                                19   name “LiveIn Technology” or “LiveIn Technology Co., Ltd.” Compare Exhibit H (ChitChat
                                                                20   Technology’s LinkedIn Profile), with Exhibit I (LiveIn Technology’s LinkedIn Profile). ChitChat

                                                                21   Technology is the Taiwanese operation of Rockey Tech and Luokai Technology. Exhibit J.

                                                                22          9.      According to Defendants’ website highlight.mobi, Defendants Rockey Tech and

                                                                23   Luokai Technology are an “internet company that specializes in overseas social networking” with

                                                                24   “more than 200 million overseas users,” and more than two billion daily active users. Exhibit J.

                                                                25   According to its LinkedIn profile, ChitChat Technology is a developer of “social and communication

                                                                26   products” and the “fastest growing overseas social application start-up company in the industry.”
                                                                27   Exhibit H.

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                                                                1           10.    According to Defendants’ website highlight.mobi, Yao Yao (姚峣) is Defendants
                                                                2    Rockey Tech and Luokai Technology’s Co-Founder and resides in Beijing, China. Exhibit J. Yao

                                                                3    Yao created at least one Facebook Page on behalf of Defendant Rockey Tech and at least one

                                                                4    business account on behalf of Defendant Luokai Technology. Figure 1 is a screenshot of Yao Yao’s

                                                                5    image on Defendants’ website, highlight.mobi, on September 13, 2022.

                                                                6                                       Figure 1: Yao Yao (姚峣)
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                                                                19          11.    According to Defendants’ website highlight.mobi and Brad Chang’s LinkedIn profile,
                                                                20   Brad Chang (張宴晟 or Zhang Yancheng) is Defendant ChitChat Technology’s CEO and
                                                                21   Defendants Rockey Tech and Luokai Technology’s Taiwanese partner and resides in Taipei,
                                                                22   Taiwan. Exhibits J-K. Brad Chang created at least three Facebook applications on behalf of
                                                                23   Defendant Rockey Tech and at least two business accounts and one Facebook Page on behalf of
                                                                24   Defendant ChitChat Technology. Figure 2 is a screenshot of Brad Chang’s image on Defendants’
                                                                25   website, highlight.mobi, on September 13, 2022.
                                                                26   //
                                                                27   //
                                                                28   //


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                                                                1                                       Figure 2: Brad Chang (張宴晟)
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                                                                12          12.     At all times material to this action, each Defendant was the agent, partner, alter ego,
                                                                13   subsidiary, and/or co-conspirator of and with the other Defendant, and the acts of each Defendant
                                                                14   were in the scope of that relationship. In doing the acts and failing to act as alleged in this
                                                                15   Complaint, each Defendant acted with the knowledge, permission, and consent of each other; and
                                                                16   each Defendant aided and abetted each other.
                                                                17                                      JURISDICTION AND VENUE
                                                                18          13.     The Court has jurisdiction under 28 U.S.C. § 1332 over all causes of action alleged in
                                                                19   this Complaint because complete diversity exists and the amount in controversy exceeds $75,000.
                                                                20          14.     The Court has personal jurisdiction over Defendants because they knowingly directed
                                                                21   and targeted their scheme at Meta and WhatsApp, which have their principal places of business in
                                                                22   California. Defendants used Meta’s developer and advertising platforms, and transacted business
                                                                23   using Meta’s services, and otherwise engaged in commerce in California. Defendants also
                                                                24   distributed their Malicious Applications on California-based platforms.
                                                                25          15.     The Court also has personal jurisdiction over Defendants because Defendants agreed
                                                                26   to Plaintiffs’ Terms by accessing and using Meta’s and WhatsApp’s services, respectively. By
                                                                27   agreeing to the Terms, Defendants, in relevant part, agreed to submit to the personal jurisdiction of
                                                                28   this Court, and that California law would govern.


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                                                                1           16.      Venue is proper in this District under 28 U.S.C. § 1391(b) because a substantial part

                                                                2    of the events giving rise to the claims asserted in this lawsuit occurred here.

                                                                3           17.      Pursuant to Civil L.R. 3-2(c), this case may be assigned to either the San Francisco or

                                                                4    Oakland division because Plaintiffs are located in San Mateo County.

                                                                5                                        FACTUAL ALLEGATIONS

                                                                6           A.       Background on WhatsApp

                                                                7           18.      WhatsApp provides an encrypted communication service available on mobile devices

                                                                8    and desktop computers (the “WhatsApp Service”). More than 2 billion people in 180 countries use

                                                                9    the WhatsApp Service. Users must install the WhatsApp application to use the WhatsApp Service.

                                                                10          19.      Every type of communication (calls, video calls, chats, group chats, images, videos,

                                                                11   voice messages, and file transfers) on the WhatsApp Service is encrypted during its transmission
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                                                                12   between users. This encryption protocol was designed to ensure that no one other than the intended

                                                                13   recipient could read any communication sent using the WhatsApp Service.

                                                                14          20.      Use and access to the WhatsApp Service, and interactions with WhatsApp’s computer

                                                                15   systems, is governed by WhatsApp’s Terms of Service (“WhatsApp Terms”).

                                                                16          21.      In October 2014, Meta acquired WhatsApp. At all times relevant to this action, Meta

                                                                17   has served as WhatsApp’s service provider, which entails providing both infrastructure and security

                                                                18   for WhatsApp.

                                                                19          B.       WhatsApp’s Terms of Service
                                                                20          22.      Every WhatsApp user must create an account and agree and consent to the WhatsApp

                                                                21   Terms (available at https://www.whatsapp.com/legal/terms-of-service).

                                                                22          23.      The WhatsApp Terms state that “You must use [the WhatsApp Service] according to

                                                                23   our Terms and policies” and that users agree to “access and use [WhatsApp’s] Services only for

                                                                24   legal, authorized, and acceptable purposes.”

                                                                25          24.      WhatsApp Terms prohibit–whether directly, indirectly, through automated or other

                                                                26   means–from, among other things:
                                                                27          a.       “[E]xploiting [WhatsApp’s] Services in impermissible or unauthorized manners, or in

                                                                28   ways that burden, impair, or harm [WhatsApp], [its] Services, systems, [its] users, or others”;


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                                                                1           b.       “[R]everse engineer[ing], alter[ing], modify[ing], creative derivative works from,

                                                                2    decompile[ing], or extract[ing] code from [WhatsApp] Services”;

                                                                3           c.       “[S]end[ing], stor[ing], or transmit[ting] viruses or other harmful computer code from

                                                                4    or onto [WhatsApp] Services”;

                                                                5           d.       “[G]ain[ing] or attempt[ing] to gain unauthorized access to [WhatsApp] Services or

                                                                6    systems”;

                                                                7           e.       “Interfere[ing] with or disrupt[ing] the safety, security, confidentiality, integrity,

                                                                8    availability, or performance of [WhatsApp] Services”;

                                                                9           f.       “[C]ollect[ing] information of or about [WhatsApp] users in any impermissible or

                                                                10   unauthorized manner”;

                                                                11          g.       “[S]ell[ing], resell[ing], rent[ing], or charg[ing] for [WhatsApp] Services or data
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                                                                12   obtained from [WhatsApp] or [WhatsApp] Services in an unauthorized manner”;

                                                                13          h.       “[C]reat[ing] software or APIs that function substantially the same as [WhatsApp]

                                                                14   Services and offer them for use by third parties in an unauthorized manner”;

                                                                15          i.       Using the WhatsApp Services in ways that “violate, misappropriate, or infringe the

                                                                16   rights of WhatsApp, or [its] users, or others, including privacy, publicity, intellectual property, or

                                                                17   other proprietary rights”; and

                                                                18          j.       Using WhatsApp for “any non-personal use of [WhatsApp’s] Services unless

                                                                19   otherwise authorized by [WhatsApp].”
                                                                20          25.      The WhatsApp’s Terms prohibit users not just from personally engaging in the

                                                                21   conduct listed above, but also from assisting others in doing so.

                                                                22          C.       Background on Meta and Facebook

                                                                23          26.      Meta owns and operates Facebook, a social networking website and mobile

                                                                24   application that enables its users to create their own personal profiles and connect with each other on

                                                                25   mobile devices and personal computers. As of June 2022, Facebook daily active users averaged 1.97

                                                                26   billion and monthly active users averaged 2.93 billion.
                                                                27          27.      A Facebook Page is a public profile on Facebook used to promote a business or other

                                                                28   commercial, political, or charitable organization or endeavor.


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                                                                1           28.      Meta’s Audience Network is a product that Meta offers to enable advertisers to

                                                                2    display their ads to people who use third-party (non-Meta) apps and websites. By integrating their

                                                                3    apps with Audience Network, third-party mobile app developers can generate revenue by displaying

                                                                4    ads to Meta users who use their apps. To implement Audience Network, a third-party mobile app

                                                                5    developer adds code provided by Meta to their app, which will show and track the Audience

                                                                6    Network ads (the “Audience Network SDK”). Meta pays the third-party mobile app developers a

                                                                7    percentage of the net revenue generated from the ads delivered on their apps. Generally, the

                                                                8    payment amounts depend on the number of clicks attributed to the ads displayed on a particular app

                                                                9    through Audience Network.

                                                                10          29.      Meta also operates a developer platform referred to as the “Meta Platform.” This

                                                                11   platform enables app developers (“Developers”) to run apps that interact with Meta and Meta users.
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                                                                12          30.      Access to and interaction with Meta’s computer systems is governed by Meta’s

                                                                13   Terms of Service (“Meta Terms”) and other policies, including the Platform Terms and Developer

                                                                14   Policies.

                                                                15          D.       Meta’s Terms of Service and Platform Terms and Policies

                                                                16          31.      All Facebook users, including Developers, agree to comply with the Meta Terms

                                                                17   when they create a Facebook account. Everyone who uses Facebook must agree to the Meta Terms

                                                                18   (available at https://www.facebook.com/terms.php?ref=pf), and other rules that govern different

                                                                19   types of access to, and use of, Facebook. These other rules include Meta’s Platform Terms
                                                                20   (available at https://developers.facebook.com/terms/dfc_platform_terms) and Developer Policies

                                                                21   (available at https://developers.facebook.com/devpolicy/).

                                                                22          32.      Section 3.2.1 of the Meta Terms prohibits using Facebook to do anything that

                                                                23   “violates these Terms . . . and other terms and policies,” “is unlawful, misleading, discriminatory or

                                                                24   fraudulent,” or “infringes or violates someone else’s rights.”

                                                                25          33.      The relevant Meta Platform Terms include:

                                                                26          a.       “[Meta] or Third-Party Auditors may conduct an Audit . . . to ensure that your and
                                                                27   your App’s Processing of Platform Data is and has been in compliance with these Terms and all

                                                                28   other applicable terms and policies.” Section 7.c.i.


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                                                                1             b.     “You will cooperate with the audits, including by (1) providing all necessary physical

                                                                2    and remote access to your IT Systems and Records, and (2) providing information and assistance as

                                                                3    reasonably requested . . . .” Section 7.c.iii.

                                                                4             c.     “From time to time, [Meta] may request . . . information, certifications, and

                                                                5    attestations relating to your use of Platform or Processing of Platform Data, which you will provide

                                                                6    to [Meta] in the requested timeframe and form.” Section 7.d.

                                                                7             d.     “You also must comply with all applicable laws and regulations . . ..” Section 11.b.

                                                                8             E.     Defendants Agreed to the WhatsApp Terms

                                                                9             34.    At all times relevant to this Complaint, Defendants were bound by the WhatsApp

                                                                10   Terms.

                                                                11            35.    Between November 2018 and July 2022, Defendants created and caused to be created
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                                                                12   approximately ten WhatsApp accounts and agreed to the WhatsApp Terms. For example, on or

                                                                13   about January 11, 2019, Defendants’ principal, Brad Chang created a WhatsApp account and agreed

                                                                14   to the WhatsApp Terms on their behalf. Likewise, on or about May 23, 2022, Defendants Rockey

                                                                15   Tech and Luokai Technology’s Co-Founder, Yao Yao, created a WhatsApp account and agreed to

                                                                16   the WhatsApp Terms on their behalf.

                                                                17            F.     Defendants Agreed to the Meta Terms and Platform Terms

                                                                18            36.    At all relevant times, Defendants were Facebook users that agreed to and were bound

                                                                19   by the Meta Terms. In total, Defendants owned and controlled more than five business accounts,
                                                                20   five Facebook Pages, and thirty-five Facebook applications.

                                                                21            37.    Defendant Rockey Tech: On or about March 24, 2020, Yao Yao created a Facebook

                                                                22   Page named “Rockey Tech.” Through creation and use of this Page, Yao Yao agreed to the Meta

                                                                23   Terms on Defendant Rockey Tech’s behalf. On or about October 23, 2019, January 13, 2020, and

                                                                24   August 13, 2021, Brad Chang created three Facebook applications (“Status Saver - Audience

                                                                25   Network,” “Sticker - Audience Network,” and “Status Keeper - Audience Network,” respectively)

                                                                26   that integrated with Meta’s Audience Network on Defendant Rockey Tech’s behalf. Through
                                                                27   creation and use of these Audience Network integrations, Brad Chang agreed to the Meta Terms and

                                                                28   Platform Terms on Defendant Rockey Tech’s behalf.


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                                                                1           38.    Defendant Luokai Technology: On or about June 1, 2020, Yao Yao created a

                                                                2    business account in the name of “Beijing Luokai Technology Co., Ltd.” Through creation and use

                                                                3    of this and other accounts, Yao Yao agreed to the Meta Terms on Defendant Luokai Technology’s

                                                                4    behalf. On or about August 13, 2021, an agent of Defendant Luokai Technology created a business

                                                                5    account and Facebook Page both named “Beijing Luokai Technology Co., Ltd.” and a Facebook

                                                                6    application named “Highlight” and agreed to the Meta Terms and Platform Terms on Defendant

                                                                7    Luokai Technology’s behalf.

                                                                8           39.    Defendant ChitChat Technology: On or about September 28, 2022, Brad Chang

                                                                9    created two business accounts in the names of “ChitChat” and “ChitChat Tech,” respectively, and a

                                                                10   Facebook Page named “ChitChat Technology” on Defendant ChitChat Technology’s behalf.

                                                                11   Through creation and use of these accounts and Page, Brad Chang agreed to the Meta Terms on
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                                                                12   Defendant ChitChat Technology’s behalf. On or about October 7, 2020 and November 25, 2020, an

                                                                13   agent of Defendant ChitChat Technology created two Facebook applications (“Status saver new -

                                                                14   Audience Network” and “Status saver,” respectively) that integrated with Meta’s Audience Network

                                                                15   on its behalf. Through creation and use of these Audience Network integrations, this Facebook user

                                                                16   agreed to the Meta Terms and Platform Terms on Defendant ChitChat Technology’s behalf.

                                                                17          G.     Defendants’ Account Takeover Attack

                                                                18                 1.        Overview

                                                                19          40.    Beginning no later than May 2022 continuing until at least July 2022, Defendants
                                                                20   facilitated an account takeover attack targeting WhatsApp and its users. Defendants’ scheme

                                                                21   proceeded as follows:

                                                                22          41.    First, Defendants developed and distributed on various websites, including

                                                                23   heymods.com and the Google Play Store, at least two Malicious Applications and multiple versions

                                                                24   thereof, which contained malware and were designed to trick victims into self-compromising their

                                                                25   WhatsApp accounts. Exhibits A-C. Defendants also promoted their Malicious Applications on

                                                                26   Facebook.
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                                                                1           42.     Second, through the Malicious Applications, Defendants facilitated the

                                                                2    misappropriation of users’ WhatsApp account keys, which include authentication information from

                                                                3    the victim’s device, and used them to access the victim’s WhatsApp account without authorization.

                                                                4           43.     Third, once Defendants gained unauthorized access to a victim’s WhatsApp account,

                                                                5    they caused the account to be used without authorization and for improper purposes, including to

                                                                6    send commercial spam.

                                                                7                   2.     Defendants’ Development and Distribution of the Malicious Applications

                                                                8           44.     Between approximately June 2021 and July 2022, Defendants developed and

                                                                9    distributed multiple unofficial versions of WhatsApp and at least two of these contained malware.

                                                                10   See, e.g., Exhibits A-C. For example, Figure 3 is a screenshot of one of the unofficial versions of

                                                                11   WhatsApp, which Defendants made available at malavida.com and called “HeyWhatsApp Android
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                                                                12   20.50.0” on June 14, 2022. On the Google Play Store, Defendants listed the developer of these

                                                                13   Malicious Applications as “HeyMods Yo Gb Plus WaMods,” with the e-mail address

                                                                14   gb.wamods@gmail.com. Exhibits B-C.

                                                                15                       Figure 3: Defendants’ “HeyWhatsApp Android 20.50.0”
                                                                                               available on malavida.com on June 14, 2022
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                                                                1           45.     Between at least June 7, 2021 and July 2022, one of the Malicious Applications made

                                                                2    available by Defendants on the Google Play Store was called, “AppUpdater for WhatsPlus 2021 GB

                                                                3    Yo FM HeyMods.” Exhibit B. According to Defendants, this application was designed to

                                                                4    automatically update any of Defendants’ unofficial WhatsApp applications installed on the victims’

                                                                5    device. Id. According to the Google Play Store, this application was installed by more than one

                                                                6    million users. Id.

                                                                7           46.     Between at least March 3, 2022 and July 2022, another Malicious Application

                                                                8    Defendants made available on the Google Play Store was called “Theme Store for Zap.” Exhibit C.

                                                                9    According to Defendants, this application was designed to modify other versions of unofficial

                                                                10   WhatsApp applications, including modifying the applications’ colors. Id. According to the Google

                                                                11   Play Store, this application was installed by more than 100,000 users. Id.
                           Los Angeles, California 90071-2627
                           550 South Hope Street, Suite 2000
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                                                                12          47.     Defendants tricked victims into installing the Malicious Applications by

                                                                13   misrepresenting them on the Google Play Store as legitimate alternatives to WhatsApp. For

                                                                14   example, Defendants promoted the Malicious Application “AppUpdater for WhatsPlus 2021 GB Yo

                                                                15   FM HeyMods” as a tool to “receive the latest update and latest new feature notification of [multiple

                                                                16   unofficial WhatsApp applications] from HeyMods.” Exhibit B. Defendants promoted the Malicious

                                                                17   Application “Theme Store for Zap” as a tool to change the look-and-feel or “theme” of multiple

                                                                18   unofficial WhatsApp applications developed by Defendants. Exhibit C. In fact, the Malicious

                                                                19   Applications contained malware designed to facilitate an account takeover attack and were not
                                                                20   affiliated with WhatsApp or Meta. Defendants did not disclose on the Google Play Store or in its

                                                                21   Privacy Policies that this application contained malware designed to collect the users WhatsApp

                                                                22   authentication information. See Exhibits L-M.

                                                                23          48.     Defendants also promoted their website heymods.com on Facebook. For example, on

                                                                24   or about July 14, 2020, Defendant Luokai Technology created the Facebook Page, “Animated

                                                                25   Sticker Maker for WhatsApp - WAStickerApps,” to promote Defendants’ unofficial WhatsApp

                                                                26   applications available on heymods.com.
                                                                27

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                                                                1            3.     Defendants Gained Unauthorized Access to Victims’ WhatsApp Accounts

                                                                2            49.    After victims installed the Malicious Applications, they were prompted to enter their

                                                                3    WhatsApp user credentials and authenticate their WhatsApp access on the Malicious Applications.

                                                                4    The Defendants programmed the Malicious Applications to communicate the user’s credentials to

                                                                5    WhatsApp’s computers and obtain the users’ account keys and authentication information

                                                                6    (collectively, “access information”). Defendants also programmed the Malicious Applications to

                                                                7    send the victim’s access information to computers controlled by Defendants using some of the

                                                                8    following domains: hzdy.birxpk.com, cx48t3.khvi3w.com, uz1dtd.khvi3w.com, pdhegk.nxsoaa.com,

                                                                9    and 96oh21.nxsoaa.com.

                                                                10           50.    Defendants’ privacy policies for the Malicious Applications misrepresented that

                                                                11   Defendants collected only “Technical Data and Device information such as network connection type
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                           550 South Hope Street, Suite 2000
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                                                                12   (e.g., WiFi, 3G, 4G), browser type, language, operating system, [] your provider, network and device

                                                                13   performance, the unique device identifier assigned to that device by phone makers, carriers, or

                                                                14   maker s [sic] of the operating system, application status, [] usage statistic[s], your usage.” Exhibits

                                                                15   L-M. Defendants further represented that “[t]he only purpose” of collecting such information “is to

                                                                16   improve [their] service, to make the application run faster and use less storage and data.” Id.

                                                                17   (emphasis added). In fact, Defendants collected access information for improper purposes, including

                                                                18   spam.

                                                                19           51.    For example, on or about May 16, 2022, a WhatsApp user located in the United
                                                                20   Kingdom installed one of the Malicious Applications. The user’s WhatsApp account was then

                                                                21   accessed using the access information collected through the Malicious Applications without

                                                                22   WhatsApp’s or the user’s authorization.

                                                                23                  4.      The Compromised WhatsApp Accounts Were Used to Send Commercial

                                                                24                          Spam Messages

                                                                25           52.    Defendants used or caused their unauthorized access to be used to send thousands of

                                                                26   spam messages on WhatsApp.
                                                                27           53.    Between approximately May 2022 and continuing to at least July 2022, Defendants

                                                                28   used or caused the victims’ WhatsApp Accounts to be used to send unauthorized spam messages.


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                                                                1    The unauthorized access and spam messages promoted third-party websites, including

                                                                2    www.222atm.com, www.28.city, https://panda95.live/RF1817A311, https://panda95.live/RF,

                                                                3    https://cutt.ly/oGlcJ0G, https://cutt.ly/FGlc8nZ. The spam messages were directed at WhatsApp

                                                                4    users around the world, including users in Hong Kong, Indonesia, Malaysia, and Singapore.

                                                                5           H.      Meta’s Enforcement and Request for an Audit Pursuant to the Platform Terms

                                                                6           54.     In July and August 2022, WhatsApp disabled Defendants’ WhatsApp accounts and

                                                                7    Meta disabled Defendants’ Facebook user accounts, business accounts, ad accounts, applications,

                                                                8    and Pages, and Instagram user accounts.

                                                                9           55.     On or about July 7, 2022, Plaintiffs also sent each Defendant a cease and desist letter.

                                                                10   Exhibit N. Meta further requested an audit of Defendants’ systems pursuant to Facebook Platform

                                                                11   Policy 7.c. Id. WhatsApp also notified Google that Malicious Applications in the Google Play Store
                           Los Angeles, California 90071-2627
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                                                                12   contained malware designed to facilitate account takeovers.

                                                                13          56.     Between July 21 and August 12, 2022, Plaintiff’s counsel sent additional

                                                                14   correspondence to Defendants requesting a response to the July 7 cease and desist letter and audit

                                                                15   demand. To date, Defendants have not responded. However, on July 18, 2022, Defendants

                                                                16   announced on Telegram that “[d]ue to some circumstances, the heymods team will stop updating

                                                                17   apps in the heymods family.” Exhibit O.

                                                                18          I.      Defendants’ Unlawful Acts Have Caused Damage and a Loss to Plaintiffs

                                                                19          57.     Defendants’ breaches of Plaintiffs’ Terms and other misconduct described above have
                                                                20   harmed Plaintiffs, including by negatively impacting Plaintiffs’ services.

                                                                21          58.     Defendants’ misconduct has caused Plaintiffs to spend resources investigating and

                                                                22   redressing Defendants’ wrongful conduct. Plaintiffs have suffered damages attributable to the

                                                                23   efforts and resources they have used to investigate, address, and mitigate the matters set forth in this

                                                                24   Complaint.

                                                                25                                       FIRST CAUSE OF ACTION

                                                                26                                            (Breach of Contract)
                                                                27                               by Plaintiff WhatsApp LLC against Defendants

                                                                28          59.     WhatsApp incorporates all other paragraphs as if fully set forth herein.


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                                                                1           60.     Defendants agreed and became bound by the WhatsApp Terms when they, through

                                                                2    their principals and agents, created various WhatsApp accounts.

                                                                3           61.     Defendants breached their agreement with WhatsApp by taking the actions described

                                                                4    above in violation of the WhatsApp Terms.

                                                                5           62.     WhatsApp has performed all conditions, covenants, and promises required of it in

                                                                6    accordance with its agreement with Defendants.

                                                                7           63.     Defendants’ breaches have caused WhatsApp to incur damages, including the

                                                                8    expenditure of resources to investigate and respond to Defendants’ fraudulent scheme and

                                                                9    unauthorized access.

                                                                10                                     SECOND CAUSE OF ACTION

                                                                11                                            (Breach of Contract)
                           Los Angeles, California 90071-2627
                           550 South Hope Street, Suite 2000
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                                                                12                           by Plaintiff Meta Platforms, Inc. against Defendants

                                                                13          64.     Meta incorporates all other paragraphs as if fully set forth herein.

                                                                14          65.     Defendants agreed and became bound by the Meta Terms, Platform Terms, and

                                                                15   Developer Policies when they created various Facebook Pages and applications.

                                                                16          66.     Defendants breached these agreements with Meta by taking the actions described

                                                                17   above in violation of the Meta Terms 3.2.1 and Platform Terms 7.c, 7.d, and 11.b. These include

                                                                18   using Facebook to do anything “unlawful, misleading . . . or fraudulent” or “violat[ing] someone

                                                                19   else’s rights”; failing to comply with Meta’s request for an audit and for proof of compliance with its
                                                                20   Terms and policies; and failing to “comply with all applicable laws and regulations.”

                                                                21          67.     Meta has performed all conditions, covenants, and promises required of it in

                                                                22   accordance with its agreements with Defendants.

                                                                23          68.     Defendants’ breaches have caused Meta to incur damages, including the expenditure

                                                                24   of resources to investigate and respond to Defendants’ fraudulent scheme.

                                                                25          69.     The harms caused by Defendants’ breach of Platform Terms 7.c and 7.d can only be

                                                                26   adequately remedied by specific performance of the contract between Meta and Defendants.
                                                                27

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                                                                1                                           PRAYER FOR RELIEF

                                                                2           Plaintiffs seek judgment awarding the following relief:

                                                                3           1.      That the Court enter judgment against Defendants that Defendants have breached

                                                                4    their contracts with Plaintiffs, in violation of California law;

                                                                5           2.      That the Court enter a permanent injunction:

                                                                6                   a. Ordering Defendants to comply with Platform Policy 7.c and respond, fully and

                                                                7                       accurately, to Meta’s requests for information and proof of compliance with

                                                                8                       Plaintiffs’ Terms, including a forensic data audit;

                                                                9                   b. Barring Defendants from accessing or attempting to access Plaintiffs’ websites

                                                                10                      and computer systems;

                                                                11                  c. Barring Defendants from creating or maintaining any Meta or WhatsApp accounts
                           Los Angeles, California 90071-2627
                           550 South Hope Street, Suite 2000
Hunton Andrews Kurth LLP




                                                                12                      in violation of Plaintiffs’ Terms;

                                                                13                  d. Barring Defendants from engaging in any activity to defraud Plaintiffs or their

                                                                14                      users; and

                                                                15                  e. Barring Defendants from engaging in any activity, or facilitating others to do the

                                                                16                      same, that violates Plaintiffs’ Terms.

                                                                17          3.      That Plaintiffs be awarded damages, including compensatory damages, as permitted

                                                                18   by law and in such amounts to be proven at trial.

                                                                19          4.      That Plaintiffs be awarded their reasonable costs.
                                                                20          5.      That Plaintiffs be awarded pre- and post-judgment interest as allowed by law.

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                                                                1              6.   That the Court grant all such other and further relief as the Court may deem just and

                                                                2    proper.

                                                                3

                                                                4    Dated: October 4, 2022                                HUNTON ANDREWS KURTH LLP

                                                                5

                                                                6                                                          By:        /s/ Ann Marie Mortimer
                                                                                                                                     Ann Marie Mortimer
                                                                7                                                                    Jason J. Kim
                                                                                                                                     Brandon Marvisi
                                                                8
                                                                                                                                 Attorneys for Plaintiffs
                                                                9                                                                WHATSAPP LLC and META
                                                                                                                                 PLATFORMS, INC.
                                                                10
                                                                                                                                    Platform Enforcement and Litigation
                                                                11                                                                  WhatsApp LLC and Meta Platforms,
                           Los Angeles, California 90071-2627
                           550 South Hope Street, Suite 2000
Hunton Andrews Kurth LLP




                                                                                                                                    Inc.
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                                                                                                                                    Jessica Romero
                                                                13                                                                  Bridget Anne Freeman

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                                                                1                                         DEMAND FOR JURY TRIAL

                                                                2            Plaintiffs hereby demand a trial by jury on all issues triable to a jury.

                                                                3

                                                                4    Dated: October 4, 2022                                  HUNTON ANDREWS KURTH LLP

                                                                5

                                                                6                                                            By:        /s/ Ann Marie Mortimer
                                                                                                                                       Ann Marie Mortimer
                                                                7                                                                      Jason J. Kim
                                                                                                                                       Brandon Marvisi
                                                                8
                                                                                                                                   Attorneys for Plaintiffs
                                                                9                                                                  WHATSAPP LLC and META
                                                                                                                                   PLATFORMS, INC.
                                                                10
                                                                                                                                      Platform Enforcement and Litigation
                                                                11                                                                    WhatsApp LLC and Meta Platforms,
                           Los Angeles, California 90071-2627
                           550 South Hope Street, Suite 2000
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                      EXHIBIT A
2022-06-17     - Defendants'
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             URL: https://heymods.com/
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                      EXHIBIT B
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                         2022-06-17 – AppUpdater for WhatsPlus 2021 GB Yo FM HeyMods
                                       Available On the Google Play Store


    Google Play               Games       Apps     Movies & TV       Books       Kids




AppUpdater for Whats Plus 2021 GB
Yo FM HeyMods
HeyMods Yo Gb Plus WaMods


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                                                                                                 Developer contact       "'-

                                                                                                 B   Email
                                                                                                     gb.wamods@gmail.com


                                                                                                 0   Privacy policy
                                                                                                     https://whatsappupdater.web.app
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About this app          ➔

This app could let receive the latest update and latest new feature notification of Whats Plus
2021, GB, Yo, Fm, Plus, GBWA, YoWa, FmWa, WaPlus and Aero from HeyMods


Updated on
Jun 7, 2021



Data safety

Developers can show information here about how their app collects and uses your data. Learn
more about data safety



   CD     No information available




  URL: https://play.google.com/store/apps/details?id=com.heymods.gbwa.yowa.waplus.updater
                              Case 3:22-cv-05711 Document 1 Filed 10/04/22 Page 23 of 76



                               2022-06-17 – AppUpdater for WhatsPlus 2021 GB Yo FM HeyMods
                                             Available On the Google Play Store



Ratings and reviews               ➔                               Ratings and reviews are verified   <D




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e        STEVANK_GH


*            October 18, 2020

App keeps freezing after latest update. Incoming messages takes so long to load. The who le
experience with this latest update is so so bad that you just donl wantto waste your t ime. The
first update after June was okay, tho i1 has limited features.. Until I updated to the latest one
yesterday. It's been a horribl e experience since then.

912 people found this review helpful

Di d you find this helpful?      Yes     No




-        Jonathan Raymond


**           November 13, 2020
Whatsapp Web scanning for the desktop appli cation doesnl work anymore since last update, I
tried it with The regularwhatsapp and everything works fine. Also when trying to do a backup
the option doesnl let you pick and account to back up your session, which as for result that
when you try to restore your messages on the regular whatsapp, there is no backup yo restJre
from, fix it please

2,849 people found this review helpful

Di d you find this helpful'      Yes     No




0        farah amirah


*            December 16, 2020

Hi this apps is great but pis fix the bug. I cannot open/see whatsapp stories. If I try to open it
will automatically kick me out to phone home screen. Hopefully this can be fix in no time. I'll
leave a good star rating after the issues has been solve

988 people found this review helpful

Di d you find this helpful?      Yes     No




     URL: https://play.google.com/store/apps/details?id=com.heymods.gbwa.yowa.waplus.updater
                   Case 3:22-cv-05711 Document 1 Filed 10/04/22 Page 24 of 76



                        2022-06-17 – AppUpdater for WhatsPlus 2021 GB Yo FM HeyMods
                                      Available On the Google Play Store


 See all reviews




What's new

* App Updater for Whats Plus 2020 Yo Gb Plus Fm Aero by HeyMods / iMods Team
* Improved Update Flow
* Fix crash


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Google Play                             Kids & family

Play Pass                               Parent Guide

Play Points                             Family sharing

Gift cards

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 URL: https://play.google.com/store/apps/details?id=com.heymods.gbwa.yowa.waplus.updater
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                      EXHIBIT C
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                      2022-06-17 – Theme Store for Zap Available On the Google Play Store

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Theme Store for Zap
HeyMods Yo Gb Plus WaMods


   3.6*                100K+               ~
 471 reviews          Downloads        Everyone 0




          Install




                                                                                                Developer contact                "'

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                                                                                                          gb.wamods@gmail.com


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About this app            ➔


Theme Store for Zap GB Plus Yo and Aero, Hey 2022


Updated on

Mar 3, 2022


  Personaliz at ion



Data safety           ➔

Safety starts with understanding how developers collect and share your data. Data privacy and
securi ty practices may vary based on your use, reg ion, and age. The developer provided this
information and may update it over time.




   <      No data shared w ith third parties
          Learn more about how developers declare shari ng


   &      No data collected
          Learn more about how developers declare coll ection


    See details




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                        Case 3:22-cv-05711 Document 1 Filed 10/04/22 Page 27 of 76



                          2022-06-17 – Theme Store for Zap Available On the Google Play Store



Ratings and reviews               ➔                Ratings and reviews are verified   (D




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471 reviews




e        angel kazi


*            March 22, 2022

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13 people to und this review helpful

Di d you find this helpful?      Yes   No




0        Peter Mary Adah


*            March 15, 2022

Wtr.; must I share before using it??

66 people to und this review helpful

Di d you find this helpful'      Yes   No




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***          March 19, 2022
I not like

17 people to und this review helpful

Di d you find this helpful?      Yes   No



 See all reviews



What's new

Dynamic theme store for WhatsApp 2022
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                     URL: https://play.google.com/store/apps/details?id=com.coocoo.themestore
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                      2022-06-17 – Theme Store for Zap Available On the Google Play Store




Google Play                            Kids & family

Play Pass                              Parent Guide

Play Points                            Family sharing

Gift cards

Redeem

Refund policy




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                      EXHIBIT D
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      CR No.:                      2846935
      Company Name:                Rockey Tech HK Limited
      Company Type:                Private company limited by shares
      Date of Incorporation:       02-JUL-2019
      Active Status:               Live
      Remarks:                     -
      Winding Up Mode:             -
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      Ceasing to Exist:
      Register of Charges:         Unavailable
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                             Unit 507, 5/F., New East Ocean Centre
                             No. 9 Science Museum Road, Tsim Sha Tsui East, Kowloon



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7     � !lill:felfl hl Email Address




8     l'tt :ffil & :JIii gc Mortgages and Charges
      iEi� 2fi: !13 ffl alt B';J �JJ B JIJl • ffi :/sf :/!Hl    <
                                               0 jj'j � {§11} 3fi ioJ 0 jj'j iH: ffif IJlt lilt isl: !He; B';J • JliG '6' m- 1 9 12 � 1 J§
      1s••��-��•EB';Jmffl&WEB';Ja•m�
      Total amount of the indebtedness as at the date to which this return is made up in respect of all mortgages
      and charges which are required to be registered with the Registrar of Companies pursuant to the Companies
      Ordinance or would have been required to be so registered if created after 1 January 1912




9     if!\ii!B!::;$:0 Ej ®��,A.I!( Number of Member(s) of a Company Not Having a Share Capital
      (tfjfjf;;f;:[fy�Vtt]#.ff!;ft.J{fllJltJJi Company having a share capital need not complete this section)
      ��2fi:!l'lfflaltB';J�JJBJ/JlB';J��A�
      Number of Member(s) as at the Date to which this Return is Made Up

10 !Bl::;$: Share Capital
     (/!rf/Jff;;/;:[lyi_.,\5]/!l.f/!fffJ!i!llJitJJi Company not having a share capital need not complete this section)

                              �� :,t;: !13 if alt B';J � )l B JIJl As at the Date to which this Return is Made Up

        00: fil B';J ffi JlU                                                         e !it fr 00: fil Issued Shares
       (�� JmOO:/
         ii 9c 00: �)        Ji: 1W fl! {fr                                                                                               m
                                                                                                                                e iii: JliG fF
       Class of Shares Currency
       (e.g. Ordinary/
                                                            m�                                t'!l ,lil: $Jj                  e iii: B';J t'!l Jill: $Jj
                                                       Total Number                         Total Amount                   Total Amount Paid up or
       Preference etc.)                                                                                                     Regarded as Paid up

          Ordinary               HKD                       10,000                             10,000.00                           10,000.00




                 m�              HKD                      10,000                              10,000.00                           10,000.00
                 Total




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     Form
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                             NAR1
                                 if    Company Secretary
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                (ft[Jlffiif�j';J}ef]!fl.illf!5€J%f//.. • ffnlfHf!JifA iJ!l!fl Use Continuation Sheet A if more than 1 company secreta,y is a natural person)
     A.         0 a]� If ( El �A.) Company Secretary (Natural Person)

     'P )( /It ;g
     Name in Chinese

                                        Surname
     � )( ilt-i;                            /IHI:
     Name in English

                                     Other Names
                                            ii*

     Jl1J m tt ;g
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CD   Hong Kong
     Correspondence
     Address



                                           Jill],.
                                          Region

     m !lill i1!l JJI:                               ::=======================:
     Email Address

                m lj)j Identification
     (a)
     � 5t
             'i!r il!i � :5t m I/ti! Iii§
             Hong Kong Identity Card Number                                                       11
     (b)     iiJi !(il
             Passport                               Issuing Country
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                                                                        �===============�
                                                           Number       '-----------------------------'
     B.         i}a]�tf ($A.Ill ft) Company Secretary (Body Corporate)
                (j([JJGJS-:f!,i,,'-ci]fgl!fJ!l;'!i/....111/l!I, iJfltHJfJ!lA J;f{fll Use Continuation Sheet A if more than 1 company secretary is a body corporate)

G    9' )( i'i ffi
     Name in Chinese

G    � )( i'i :fl!l
     Name in English                                                    BNA BUSINESS CONSULTANTS LIMITED

G    'i!r il!i :l,fil JJI:
     Hong Kong
                                         lunit 507, 5/F.,
     Address
                                         INew East Ocean Centre

                                         No. 9 Science Museum Road, Tsim Sha Tsui East, Kowloon

                                R�!,jHong Kong
     m !lill i1!l JJI:
     Email Address

     0 El I.II lj/f Company Number                                                                                                   1725305

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      Form
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     12          I$ Directors

     A.           Ii lie> ( El �A) Director (Natural Person)
                  (f@J{fj#J-ci5iiflj{/iJ€//{(/,J,. , tnmflffN B if{!lf Use Continuation Sheet B if more than 1 director is a natural person)


     jjf{Eilfm((J!l!f!H"I/J/!L ✓ !lf Please tick the relevant box(es)

CD   �5t                                           0                      0 ltJ\ fili I lJ                    fl: ff
      Capacity
                                                                                                                       Alternate to
                                                         I$
                                                         Director               Alternate Director




      'P x/llA,
     Name in Chinese                                                                                  .:r. ::k Mi:
     :!Jl: x /IE i'i                       /IE�                                                       WANG
     Name in English                   Surname

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     Jl!l ffl /IE i',
     Previous Names
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                                         English

CD   Residential
     {:E:tJI:                                      IRoom 902, Yard 35
     Address
                                                   INo. 801, Dongfeng East Street

                                                   Yuexiu District, Guangzhou City, Guangdong Province

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      Form                                                                                                                                    2846935
     12        ji $ Directors             (!li!J::l'l' cont'd)

      B.       I$ (!t;;Alll!ll) Director (Body Corporate)
           (ft[JJ!fifiii/ffcEJif{P:l!ifflti/c/!!Jlf!J!, ffffl/H!'IJ!fC Jjfffl Use Continuation Sheet C if more than 2 directors are body corporate)




                                      □                             □
     fffftEiHflJtlJ!Zt!H"l!JOL ✓ jf Please tick the relevant box(es)
      1
                                           Director                        Alternate Director
               f,r,t                       ji:;jl'.                        �filiji:;jl'.
               Capacity




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      'P cg. ffl
      Name in Chinese


     :lJl::zcg.fjij
     Name in English


e    l1!l :l.!I:
     Address




                   l,ll*/l1ll1"
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     (Only applicable to body corporate registered m Hong Kong)
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                                           Director
                                                                    □      Alternate Director
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     Name in Chinese


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     Address




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                Country/ Region

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*� NAR1
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12        M )J       Directors (!!!l..tl'l' cont'd)
C.        ffi f:E JI :jJ   Reserve Director
          m�mftR•-�••n•••�-���-I•�&A0EJJ
          (Only applicable to a private company with only one member who is also the sole director of the company)

'PX: /it�
Name in C�inese
� X: /it �                       /IE �
Name in English              Surname

                                i\'t
                         Other Names

mi m tt�                        <p)(
Previous Names                Chinese

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Alias                         Chinese

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{±:qf:
Residential
Address




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                     Country/ Region

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Email Address                                                                                                              I
J,, 5} liff lj)J Identification
(a) 'l!r 5'!i J,, 53- liff 'll/t !ii


(b)
    Hong Kong Identity Card Number

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      Form                                                                                                                        2846935

G)   13 '1'f m!::,f,:0'EfJ (rgP.JGj:!_    �ffl        Particulars of Member(s) of a Company Having a Share Capital
        (Jif/ffl$f1'7i.'of!IJ.ffifJ{J{[Jf/;J.fi Company having a share capital must complete this section)
          ffjffEJHmfflie!tP'J!JOi ✓ M Please tick the relevant box

          0      ��m0"'®•awwnnw•-
                 ParticuIars of members of a non-listed company are listed in Schedule 1

          D      �ffl05'J®•awwnnw•=
                 Particulars of members of a listed company are listed in Schedule 2


fD   14 0-'EfJa.c� Company Records
          (j{J!f(Jt:::f"JE., §ffffJ,#1/J!fD ffi!fl Use Continuation Sheet D if the space provided is insufficient)

          05'J /iii i'¥ T '911 & � ® :ft!l :!.!I: (Jlll llft e/Js ffi'i i'¥ ft ffi 6 lJl /lr Jil1 ® ift ffiHi'JI $ !I pg)
          Address where the following company records are kept (if not kept at the registered office stated in Section 6)

            0 5'J & � Company Records                                                              :ft!l:!.tl: Address




     15   !!JI! ifil If Statement
          (!tO!i§f!./-.i.'of, ffjffEieMP'J/Joi   ✓ MJYff!:fj;JtJJ,/JJl1i!I! For a private company, please tick the box to make the Statement)


          E'.J   l3!, lfil lj)j 0 5'J El :at ili -ID Jill ff' t/l �•® !iEfJi:B Jt!l Ml ( Jlll lffi 1ff ID Jill ipj, �• , JIU El 0 5'J •
                 Jt!lMl)•llft���lli��,���0�A±��05'J®ffM�ID���m:��Jlll-AA�ft�t/l
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                 ftttJi:05'1.AA���§m�f'l®A·
                 The company has not, since the date of the last annual return (or since the date of incorporation in the case of the
                 first annual return), issued any invitation to the public to subscribe for any shares or debentures of the company and
                 that if the number of members of the company exceeds 50 as at the date of this return, the excess consists wholly
                 of persons who, under section 11 (2) of the Companies Ordinance, are excluded in the calculation of the number of
                 members of the company.



                                                                      fflill Advisory Note
            flHH}"l'lii:l!l!JSJE!!ll!flii}"lfttflfrllltlll!g'l/!'J {jfll!J!i'.€Eliisl}' ll/i.W,\�1,!\/iisl/TT!llllil1/!'1Jfll!-§!t:i!i'.€E      O


            All directors of the company are advised to read 'A Guide on Directors' Duties' published by the Companies Registry and
            acquaint themselves with the general duties of directors outlined in the Guide.



            4 t/l   *•   § :115 T '911 ii]! This Return includes the following Continuation Sheet(s)

            ij! ]! Continuation Sheet(s)                         A                         B                             C                          D

            ]! I!: Number of pages                               0                         0                             0                          0




0       �Jill    Signed:

                                                                  rized Signature(s)
        /lti', Name           ___EB�N�A�B�U���C�O�S'-'cUL!_!e_!.T1::cA!::-.N.!_TS�LI�M'!!l.!_TE!:,iD�_ B Jt!l Date: ____             2_J_UL_20_21___
                               I,J Direcler/0 5'J � if Company Secretary •                                           13 DD / /3 MM / 1f. YYYY
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      �m
                     NAR1                                                                                              Im�-                 Schedule 11
      Form
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                                                                                                   FOR NON-LISTED COMPANY)
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      Date to which this Return is Made U                                                                              0 E') iliU/1 Company Number

              02                 07               2021                                                                               2846935                   1


              B DD                                ljs yyyy



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     Particulars of Member(sl of a Non-listed Company (Section 131
     (ff!ffl:;f;:tiJ'ff:__f.i/ii,'i'l/!!3#!fflfi!JitJ!f ftO§(J1'FJi! , Jf,Cilff�-J!fil!Jlfj/, affai/JO/Jf1clf- 0)
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     (Non-listed company having a share capital must complete this page.                If the space provided is insufficient, or if there is more than one class of
     shares, please use additional Schedule 1.)
     jg¥:$: Ef3 ffl1<il\J tsJi: B Wl (l';J pJG i,.     ttj!!I Particulars of Member(s) as at the Date to which this Return is Made Up
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                                                                                                              ll!i 111 Shares

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                   Name                                    Address                                Current            Transferred •               Remarks
                                                                                                  Holding
                                                                                                                    I((§             B Wl
                                                                                                                    Number           Date


        Rockey Tech                   Sertus Chambers, Governors                                  10,000
        Limited                       Square, Suite #5-204, 23 Lime
                                      Tree Bay Avenue, P.O. Box 2547,
                                      Grand Cayman, KYl-1104,
                                      Cayman Island s




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     * If there have been any transfers of the company's shares since the date of the last annual return (or since incorporation if
          this is the first annual return), please also provide details of the transfers; the name of the transferee should be stated in
          the 'Remarks' column.
                                                                                                                                                           H117
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                      EXHIBIT F
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         [!;front page                         Fill in the company                    announcement                       Enterprises in key      I       navigation        A
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                National Enterprise Credit Information Publicity System




                                Beijing Luokai Technology Co., Ltd.                                        Existence (in business, opening, registered)
                                  Unified social credit code: 911 10108MA01JMDK86
                                  Registration Number:
                                  Legal repre sentative: Xue Min                                                                                                   f \-li::tiffi:fiiid
           ■        ····.;.I
                                  Regi stration Authority: Beijing Economic and Technological Development Zone
                                  Market Supervision Administration                                                                                                !Wi::till·l:f-lii:it
                                  Date of establishment: April 22, 2019




       basic information                 Administ rative Licensing Information                       Administ rative Penalty Information
       Included in the list of abnormal business operations                            Information o n t he List of Serious Violators and Unt rustworthy (Blacklist)
       official news


      I Business license information
      • Unified social credit code: 91110108MA01JMDK86                                          • Company Name:       Beiji ng Luokai Technology Co., Ltd.
      • Registration Numbe r:                                                                   • Legal representative:       Xue M in
      · type:     Limited lia b ility compa ny (invested or controlled by natu ral              · Date of establishment: April 22, 2019
      p ersons)
      · Registered capital: 100.0000000000 RMB                                                  · A pproval Date: April 9, 2020
      • Busines s p e riod from: April 22, 2019                                                 • Open until: April 21 , 2039
      • Registration Authority:        Be ijing Economic and Technological                      • Registration Status:     Existence (in business, o pening, registered)
      Deve lopment Zone Market Supe rvision Administration
      · re s iden ce:     No. 717, Unit 2, 7th Floor, Building 18, No. 7A, To ngji Middle Road, Beijing Economic and Technological Development Zone, Beij ing
      · Business Scope: Technology d evelopme nt, technology tra nsfer, technical consultation, tech nical services; software deve lopment; arts and crafts design;
      computer animat ion design; design, production, agency, and advert ising. (Enterprises shall independent ly select busi ness projects and carry out business
      activities in acco rdance wit h the law; for projects subj ect to approva l according to law, busi ness activit ies shall be ca rried out according to the a ppro ve d
      content after being approved by t he relevant depart m e nts; they shall not engage in busine ss activities of p rojects p rohib ited o r restricted by the city' s
      industrial policies.)




      I Shareholders and capit al contribution information

        serial
                               Shareholder name                   Shareholder Type                   Type of license/document                 License/document number               Details
        number


                                   Yao Yao                     naturehuman shareEast                      non-public items                           non-public items


                                                               natural person shareh o l                                                                                             Chee
                                 Sister Wang                                                              non- pu b lic items                        non- public items
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      I Key Personnel Informati on                                                                                                                                A total of 3 messages


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     I Branch Information
                                                                                      No branch information yet



     I "Multiple certificates in one" information announcement
     Reminder: The fo llowing license matters of the enterprise have been integ rated into the business license of the enterprise through · mult i-certificate
     integration"

       serial
                             The name of the record item                                                                                   Remark
       number


                             Official seal engraving record


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     I liquidation information
                                                                                   No clearing information yet




     I Change information

       serial
                               Changes                                Content before change                                           Content after change                          change date
       number

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     I Chattel mortgage registration information
     Reminder: According to the "Decis ion of the State Council on Implementing Unified Reg istration of Movable Property and Rights Guarantees" (Guo Fa [2020]
     No. 18) and the "Announcement of t he State Admin istration for Market Regulation of the People's Bank of China " ([2020] No. 23), from January 2021 From
     January 1st, the information in t his modu le will no longer be updated. For detailed information, please log in to the un ifie d registration and publicity syste m for
     movable property financing of the People's Bank of China Cred it Information Center (https://www.zhongdengwang.org.cn).

       serial                                                                 Registration                                                                                  Amount of
                               registration number                                                                   registration authority                                                   Details
       number                                                                    Date                                                                                     secured claims

                                                                     No real estate mortgage registration information


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     I Equity pledge registration information

                                                                                 Amount                                                             Equity pledge
        serial       registration                     License/document             of                              License/document             establishment                     Announcement
                                      Pledger                                                    pledgee                                                                  state                         Details
       number          number                              number                 pledged                               number                   registration                          date
                                                                                   shares                                                               date


                 9111010                                                                        Beijing Luoka i
                    8MA01J                             non-public i                             Yunxiang Tech             91110108M            February 1         effici
                                    Yao Yao
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2022-09-28 – National Enterprise Credit Information Publicity System Record of Beijing Luokai Technology Co., Ltd.

                                        A total of 2 records were found, a total of 1
                                        page                                                   front     ,             111
                                                                                                             f)revious J          next       last

                                                                                               page             page              page       page

    I Intellectual Property Information

      serial                                                                                            Date of
                       name                              Application Number                                                                         Patentee                   Details
      number                                                                                           Application


                                                                      No intellectual property information


                                        A total of O records were found, a total of 0
                                        pages                                                          front       f)rev1ous      next       last
                                                                                                       page            page       page       page

    I Intellectual Property Pledge Registration Informat ion

             Intellectual
               property                                                                                                         Pledge
      serial                                                                Pledgor's            Pledgor's                                                  Announcement
      number registration              name                type                                                               registration      state                          Details
                                                                              name                 name                                                         date
              certificate                                                                                                       period
               number


                                                      No intellectual property rights pledge registration information


                                        A total of O records were found, a total of 0
                                        pages                                                          front       f)revious      next       last

                                                                                                       page            page       page       page

    I Trademark registration information

                                                                     No trademark registration info rmation



    I Spot check inspection result information

      serial
                Inspection implementing agency                                     type                                    date                                result
      number


                                                              There is no random inspection resu lt information


                                        A total of O records were found, a total of 0
                                        pages                                                          front       f)rev,ous      next       last

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    I Product quality supervision and spot check result information

      serial   Results release                                                              Production                     Spot check               Major ineligible    Inspection
                                       product name               Specifications
      number       time                                                                   date/lot number                    results                    items             agency


                                     There is no information on the results of product quality supervision and random inspection


                                        A total of O records were found, a total of 0
                                        pages                                                          front       f)revious      next       last

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    I Certification Regulatory Spot Check Information

                                                                                                                                                        The result
                                                                                                                                                         of the
                                                                                                                    Non-
                                                                                                                                                        certificate
                                                                         Product                               conforming                                               Certificate
      serial Spot check          Certificate       Product                                                                          Certification       processing
                                                                          name            Specifications       items found                                              revocation
      number    year              number           Category                                                                         body name            that the
                                                                        {nominal)                                in random                                                 date
                                                                                                                                                       certification
                                                                                                                inspections
                                                                                                                                                        body has
                                                                                                                                                           taken



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2022-09-28 – National Enterprise Credit Information Publicity System Record of Beijing Luokai Technology Co., Ltd.

                                             There is no information on certification supervision and random inspection


                                    A total of O records were found, a total of 0
                                    pages                                                        front      previous   [ next     ►]      [ last ]
                                                                                                 page         page         page               page

   I Food inspection information

     serial                                                                         Production date/lot
                   sample name                    Specifications                                                           task source                           Sampling results
     number                                                                              number

                                                                     No food inspection information


                                    A total of O records were found, a total of 0
                                    pages                                                        front      previous   [ next     ►   ] [     last ]
                                                                                                 page         page         page               page

   I Double random spot check result information

                                                                                                                             random                    Spot Check
     serial    Spot check                                     Spot check            Spot check          Spot check                                                         Spot check
                              Spot check plan name                                                                          inspection                 Completion
     number plan number                                      task number             task name             type                                                              results
                                                                                                                              agency                      Date


                                               There is no information on the results of random random inspections


                                    A total of O records were found, a total of 0
                                    pages                                                        front      previous   [ next     ~   ] [ last ]
                                                                                                 page         page         page               page

   I Mutual legal assistance information

     serial                                                                                                        Execution notice
            person to be executed             Amount of equity                 enforcement court                                                            type Istate             Details
     number                                                                                                       document number

                                                                   No legal assistance information yet


                                    A total of O records were found, a total of 0
                                    pages                                                        front      previous   [ next     " ] [       last ]
                                                                                                 page         page         page               page

   I false promises

     serial
                            False promises                                          verification time                                                  process result
     number

                                                                          No promises are untrue


                                    A total of O records were found, a total of 0
                                    pages                                                        front      previous   r   next       l   r   last l

                                                                                                  .               .         .                  .
   The following information 1s provided by the enterprise, and the enterprise is responsible for the authenticity and legitimacy of the submitted


   I Corporate annual report information

      serial
                                   Reporting year                                                        Announcement date                                                Details
     number

                                 2021 Annual Report                                                         May 24, 2022                                                  C edr

                                 2020 Annual Report                                                         May 23, 2021                                                  r eek

                                 2019 Annual Report                                                        March 16, 2020                                                 C eek




                                                         Domain: https://www.gsxt.gov.cn
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2022-09-28 – National Enterprise Credit Information Publicity System Record of Beijing Luokai Technology Co., Ltd.

    I Shareholders and capital contribution information

                                                                           Subscription details                                                   Payment details
                          Subscription Actual
                                                                        Amount of                                                               Paid-in
                           amount     payment
                                                     Subscription         funds                                                      ca~ital_   Date of paid-
        shareholder          (ten          (ten
                                                       method of        subscribed          Subscription Announcemena.,ay of paid- contribution      in       Announcement
                         thousand     thousand
                                                        capital              (ten              date            date         in capital           (ten         contribution      date
                            yuan)         yuan)
                                                     contribution        thousand                                                             thousand
                                                                           yuan)                                                                yuan)

                                                                No shareholder a nd capital contribution information


                                            A total of O records were found, a total of 0
                                            pages                                                         front       previous     next         last

                                                                                                          page          page       page         page

    I   Equity change information

        serial                                              Shareholding ratio before                   Shareholding ratio after                 Equity Change        Announcement
                            shareholder
        number                                                          change                                     change                              Date                  date


                                                                          No sharehold ing change information


                                            A total of O records were found, a total of 0
                                            pages                                                         front       previous     next         last

                                                                                                          page          page       page         page

    I Admin istrative Licensing      Information

        serial        License file                                                                                        Licensing
                                          License file name            Valid from                Valid until                                    Licensed Content        state       Details
        number         number                                                                                             Authority


                                                                         No administrative license information


                                            A total of O records were found, a total of 0
                                            pages                                                         front       previous]    next         last

                                                                                                          page          page       page         page

    I Intellectual Property Pledge Registration Information

                   Intellectual
                    property                                                                                                     Pledge
                                                                                                                                                                                                 *a
                                                                                                                                                                                               focus on



        serial                                                                  Pledgor°s              Pledger's                                               Announcement
        number registration                name                type                                                            registration        state                             Details   subscriptio1
                                                                                    name                 name                                                       date



                                                                                                                                                                                                  •
                   certificate                                                                                                    period
                    number

                                                                                                                                                                                               objection
                                                          No intel lectual property rights p ledge registration information


                                            A total of O records were found, a total of 0
                                                                                                                                                                                                  t
                                                                                                                                                                                                 return
                                            pages

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    I Administrative Penalty Information

                                                                        Contents of                                                  Penalty
          serial        Decision letter           Type of                                         Decide on the name of                                Announcement
                                                                       administrative                                                decision                                   Remark
        number              number                offense                                              the agency                                          date
                                                                        punishment                                                     date


                                                                       No administrative penalty information yet


                                            A total of O records were found, a total of 0
                                            pages                                                         front       previous     next         last

                                                                                                          page          page       page         page

    I Gro up member information

                                                                  Domain: https://www.gsxt.gov.cn
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           2022-09-28 – National Enterprise Credit Information Publicity System Record of Beijing Luokai Technology Co., Ltd.

                     serial                                                         Unified Social Credit                                                                  Shareholding ratio of parent
                                              member name                                                                         member type
                     number                                                                 Code                                                                                    company

                                                                                                 No group member informat ion


                                                               A total of O records were found, a total of 0
                                                               pages                                                           front     previous]     next   • ] [ last ]
                                                                                                                               page         page       page         page

                   I Implement standard self-declarat ion
                   Reminder: According to Article 27 of the Standardization Law of the People's Republic of China, if an ente rprise implements its own enterp rise standa rds, it shall
                   also disclose t he functional indicators of products and services and the performance indicators of prod ucts.
                          Please log in to t he ent erprise standard information public service platform (www.qybz.org.cn) to complete the regist ration ar:d fiUing r

                     serial                .                      Product or service
                     number product or service                                                      Standard type              standard encdoing               standard name                   Fill in time
                                                                    classification

                                                                   There is no self-decla ration information for the implementation of the standard


                                                               A total of O records were found, a total of 0
                                                               pages                                                           front     previous]     next   • ] [ last ]

                                                                                                                               page         page       page         page

                   I Credit Commitment Information

                     serial
                            Credit Commitment Matters                          credit commitment time                                            Content of credit commitment
                     number

                                                       There is no information on the announcement of the market entity's termination of business closure.


                                                               A total of O records were found, a total of 0
                                                               pages                                                           front     previous]     next   • ] [ last ]




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                                                                                       Sponsor: State Administ ration for Market Regulation
                                                   Address: No. 8, Sanlihe East Road, Xicheng District, Beijing Postal Code: 100820 Record Number: Beijing ICP No. 18022388-2
                                                                             Business consulting and technical supportContact informationUse help




                                                                                      Domain: https://www.gsxt.gov.cn
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2022-09-28 – Commercial and Industrial Registration Public Information Query Service Record of ChitChat Technology Ltd.

                             Company basic information           Information of directors and supervisors       Manager Profile         Branch information

                             cross-domain data          Historical data    self- disclosure     Legal person director and supervisor network trial version


                          ~ print t his        page    a   lineCopy link   tJ
                          Company basic information
                           Uniform numbers                                                                     83189916 . . .

                           Company status                                                                      Ap proved the establi shment of "For the latest
                                                                                                               busi ness sta t us, please vis it the Ministry of Finance Tax
                                                                                                               Portal "

                           Company Name                                                                        Chit Cha t Technology Lto. W W W(English
                                                                                                               name of importer and exporter: Chi t Chat Tech nology
                                                                                                               Ltd.) " Inquiry of the English name of the manufacturer
                                                                                                               in the International Trade Bureau (limited to those
                                                                                                               engaged in import, export or trading) "

                           The foreign language company name specified in the art icles of association

                           Total capita l (yuan)                                                               3,100,000

                            Representa t ive name                                                              Zhang Yansheng

                           company location                                                                    H&iftMiti@fmi , 17th Floor, No. 97, Sangren Road,
                                                                                                               Xinyi District, Taipei City

                           reg istration authority                                                             Taipei City Government

                           Approved date of establishment                                                      September 22, 109

                            Last Approved Change Date

                            Business information                                                               1301010 Information software service industry
                                                                                                               1301030 Electronic information supply service industry
                                                                                                               1301020 Data processing service industry
                                                                                                               F401010 Internationa l trade industry
                                                                                                               1199990 Other consu lting service industry
                                                                                                               1103060 Management consulting industry
                                                                                                               ZZ99999 Except for the licensed business, it may
                                                                                                               operate the business t hat is not prohibited o r
                                                                                                               rest ricted by the law




                                 Q. look up ag ai n




 (Remark)
      If you need to check whether the compa ny has comp leted the business reg istrat ion or is st ill in bus in ess, because it is not the responsibil ity of the Ministry of Economic Affa irs,
      please go to the Ministry of Finance's ta x portal website " Business (tax status) reg istration information publi city query website " to chec k. thanks!

       If you need to inquire about the latest changes and records of the company's bus in ess projects reg iste red under the Construction Industry Law, because it is not the
       responsib ility of the Minist ry of Econom ic Affairs, please go to the Construction Department of the Ministry of the Interior - Nat iona l Construct ion Management Information
       System Po rtal " Construction Industry - Reg istration Information Check the website ", thanks !

    • If you need to inquire about the lat est changes and records of the company's bus in ess projects reg istered in accordance with the Apa rtment Building Management Regu lations,
      because it is not t he respons ibili ty of the M ini st ry of Econom ic Affa irs, please go to the Construction Department of t he M ini st ry of the Interior - Nat iona l Construction
      Management Information System Portal " Apartment Building - Manage and maintain company information inquiry website " inquiry. thanks !




                                              , ; , Department of Commerce, M inist ry of Economic Affairs of the Republic of China/ Address: 10015,
                                          ~     ..., No. 15, Fuzhou Street, Zhongzheng Dist., Ta ipe i City, Back to Commerce Department Portal
                                                     Service Hours: Monday-Friday 8:30~17:30 (except national holidays)
                                                     Consultation hotline: 412-1166, direct No need to dial the area code (6-code area, please d ial 41-
                                                     1166), mobile phone please d ial 02
                                                     Ve rsio n: v l.4.1 I Government Website Inform ation Openi ng Notice I Privacy Policy I Websit e
                                                     Security Po licy




      URL: https://findbiz.nat.gov.tw/fts/query/QueryCmpyDetail.do?objectId=SEM4MzE4OTkxNg==&banNo=83189916&disj=
                                        719FBA2193204EBAAD9790FF54D87242&fhl=zh_TW
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                      EXHIBIT H
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ChitChat Technology
Quchao Technology is the fastest growing global social application start-up company in the industry, newly established in September 2020

Month, its goal is to become the next generation of social giants in the world.
Technology, Information and Internet · Taipei City · 205 followers


See all 19 employees on LinkedIn

                  Follow                            Visit website                                       More



Home About Posts                                                        Jobs                  People




Overview
Quchao Technology is the fastest growing overseas social application start-up company in the industry. It was newly established in September 2020.

The goal is to replace Whatsapp and Facebook and become the next-generation social giant in the world.

Its core team comes from ByteDance (the parent company of Douyin), Wandoujia, Kikatech, Snow Leopard (Taipei), Hunting

Leopard Mobile, Grindr (Taipei) and other top companies in related industries.

The founder Zhou Li is a serial entrepreneur. He once co-founded Tiger Map, Pea Pod, Kika

Tech and other companies.


The company has completed the pre A round of financing, and the main investor is the top international investment institution SIG (ByteDance

Investors) and XVC, the company's user growth is the fastest in the industry, no one. The company currently has more than 50 people,

Mainly the product and R&D team, headquartered in Beijing, with offices in Taipei and Wuhan, and it is expected to expand in the short term.

As large as about 100 people.

As far as data is concerned, the company's products have exceeded 10 million in just six months since it was launched in May 2020.

of daily active users (acquaintance social products), with a daily increase of more than 400,000.

Starting in April 2021, we will start to build a new business of social protocols. On the basis of tens of millions of daily activities, Wormhole will create a new business.

A secure communication protocol across apps. The team's goal is to establish a cross-product Open standard, and build under this framework

Established a number of Open source projects (Client SDK and Chat server) to link social and communication products.



Website


https://imchitchat.com/

Industry

Technology, Information and Internet




 URL: https://www.linkedin.com/company/chitchat-technology/about/
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                             Technology's LinkedInPage
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Company size                                                                1




51-200 employees                                               Home                Jobs
                                                                      My Network
19 is LinkedIn




Locations (1)

 Primary

Headquarters
17F., No. 97, Songren Rd., Xinyi Dist., Taipei City, 110, TW

Get directions




URL: https://www.linkedin.com/company/chitchat-technology/about/
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                           Follow and upgrade your business with Hitachi!




                         Hitachi Social Innovation is POWERING
                                                   GOOD

                                                   Follow




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       49 followers



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       Kika Tech, Inc.

       Computer Software 1,860

       followers



                  Follow


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       8,080 followers



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                      EXHIBIT I
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                                    LiveIn Technology's 10/04/22Profile
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        C)
    Liveln Technology
    Liveln Technology is the fastest-growing global social application startup in the industry, newly
    est ablished in 2022, with the goal of becoming the next-generation social giant in the world.
    Technology, Information and Internet , Taipei City , 209 followers

    See all 22 employees on Linkedln                                                                                               Pages people also viewed

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    Home       About         Posts       Jobs       People




    Overview
    Livefn Technology is the fastest-growing overseas social application start-up company in the industry. It was
    newly established in 2022 and replaced Whatsapp and Faeebook to become the next-generation social giant in
    the world. Its core team comes from ByteOance (the parent company of Douyin), Wandoujia, Kikatech, Snow
    Leopard (Taipei), Cheetiih Mobile, Grindr (Taipei) and other top companies in ,elated i,1dustries. The founde, Zhou
    Li is a serial entrepreneur. He once co..founded companies such as Tiger Map, Pe.a Pod, Kika Tech, etc. The
    company has completed the pre A round of financing, Ttle main investors are the top internatiof'lal imestment
    institutions SIG (ByteOance investor) and XVC. The company•s user growth is the fastest in the industry, no one.
    The company currently has more than SO people, mainly product and R&D teams, headquartered in Beijing, with
    offices in Taipei and Wuhan, and it is e;(pected to expand to about 100 people in the short term. In tEN'ms of data.
    since the company's products were launched in May 2020, there have been more than 10 million daily active
    users (acquaintance social products) in just six months, v.ith a daily increase of more than 400,000. Starting in
    April 2021, it viii start to build a new business of social protocols. Wormhole has created a eross-app secure
    communication pro;ocol on toe basis of tens of millions of daily acuvlties. ihe team's goal is to establish a cross­
    product Open standard, and to build a number of Open source projects (Client SOK and Chat server) under th·s
    framework to link social and communication products.
                                                                                                                                              See all similar pages

    Website
    https://imchitchat.eom/
                                                                                                                                   People also follow
    Industry
    Technology, lniormation and Internet

    Company size
    51-200 employees
    22 on Linkedln D




    Locations (1)

     Primary
    Headquarters
    17F., No, 97, Songren Rd., Xinyi Dist., Taipei City, 110, TW
    Get directions    e

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                      URL: https://www.linkedin.com/company/livein-technology/about/
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                 about us
                                  working
                               wili'WifrOlilfOOrut
                                                     contact details
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connect the world
Connect the world connect you and me



-Hi,f,M'♦




                                                                       Company Profile
                                                                       Company profile

                                                                       Luokai Technology is a young Internet company specializing in overseas
                                                                       social networking.

                                                                       At present, the company's products cover the fields of IM, acquaintance
                                                                       social, stranger social, live broadcast and commercialization. Its core team
                                                                       comes from industry leading companies such as ByteDance, Wandoujia,
                                                                       Kikatech, Snow Leopard (Taipei), and Grindr (Taipei). The founder Zhou Li is
                                                                       also a serial entrepreneur. As a co-founder, he founded liger Map, Pea Pod,
                                                                       Kikatech and other companies.

                                                                       Luokai is deeply engaged in overseas markets, and the user growth is very
                                                                       fast. As of March 2022, the company has accumulated more than 200 million
                                                                       overseas users, and the DAU exceeds 2000W.

                                                                       We are young and energetic, and we are expanding and growing rapidly in an
                                                                       optimistic and vigorous state. At present, the team has expanded to nearly
                                                                       200 people, with offices in Beijing, Wuhan, Shenzhen, Taipei and other
                                                                       places. Our vision is to use China's technological advantages to promote
                                                                       products to the world and become the next-generation online social platform
                                                                       overseas!




Partner introduction
Introduction to partners



                                         URL: https://www.highlight.mobi/
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CEO-Zhou Li                    Co-founder - Yao                            Technical Partner -
                               Yao                                         Zhang Jun




Product Partner-Xu             Product Partner-                            Taipei Partner-Brad
Wei Louis                      Zhuang Lulu

                                                                                                            •
                                                                                                                    ,...
      2019      4
                month                                                                            Company Events
                Completed angel round investment, Beijing & Taipei
                offices were established
                                                                                                   Company memorabilia



      2020      5
                month New social products go live


                6
                month
                Rapid growth overseas, with daily active users exceeding
                1 million


                9
                month Completed Pre-A round of financing


                10
                month Wuhan Office was established




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                              11
                              month
                              Accumulated 50 million users, and daily active users
                              exceeded 10 million




             2021             5
                              month Shenzhen office was established


                              7                                                        The future is promising, We will get better and better!
                              month
                              Stranger social product launched and completed A round
                              of financing


                              11
                              month Game community products are online




             2022             2
                              month New social line product launched


                              3
                              month
                              Accumulated over 200 million overseas users, with over
                              20 million daily active users




company culture
Enterprise culture



Our cultural foundat ion is rooted in the words "seeking truth from facts,
rational decision-making", which is also the working principle that we jointly
recognize and follow.




                                                    URL: https://www.highlight.mobi/
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working environment
Work environment


                        Wuhan                  Shenzhen                  Taipei
  BeiJing                WuHan                  Shenzhen                  Taipei




The Beijing office is located in Yonghe Hangxing Science and Technology Park, Dongcheng District, backed by the Lama
Temple, Dilan Park, Wudaoying Hu and other famous scenic spots. The park is equipped with a variety of facilities such
as food court, cinema, basketball court, etc. The office environment is comfortable'




                                                               Want to join us?                                 0
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                      EXHIBIT K
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Brad Chang
Chief Executive Officer at ChitChat Technology

       ChitChat Technology

       National Taiwan Normal University
Taipei City, Taipei City, Taiwan · Contact info
500+ connections

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About
Chief Executive Officer at ChitChat Technology




Activity
898 followers

       Follow

Brad Chang reshared a post • 2mo




   5


                                   Show all activity



                URL: https://www.linkedin.com/in/bradchangycc/
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                                                                             1

                                                            Home      My Network   Jobs
Experience
     Chief Executive Officer
     ChitChat Technology · Full-time
     Jan 2019 - Present · 3 yrs 6 mos
     Taipei City, Taiwan


     Senior Deep Learning Engineer
     Kika Tech, Inc.
     Nov 2017 - Jan 2019 · 1 yr 3 mos
     Taipei City, Taiwan


     Lead Software Engineer (Android Team & AI Team)
     Cheetah Mobile · Full-time
     Jun 2014 - Nov 2017 · 3 yrs 6 mos
     Taipei City, Taiwan

     ● PhotoGrid 2016/10 - 2017/11
     AI Team Lead                                                   …see more


     Senior Software Engineer
     CyberLink
     Jul 2010 - Apr 2014 · 3 yrs 10 mos

     。Architecture design and development with design patterns : Viewer
     Widget system、Multi Monitor System、ImageCodec Module、Color     …see more

                        Cyberlink PhotoDirector
                        I have been working on PhotoDirector from v2 to v6




Education
     National Taiwan Normal University
     Master's degree, Information and Computer Education
     2006 - 2008
     Activities and societies: Rock music band


     National Taiwan Ocean University
     Bachelor's degree, Computer Science
     2002 - 2006




        URL: https://www.linkedin.com/in/bradchangycc/
 Case 3:22-cv-05711
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                                              Profile


Volunteering                                                                 1
         Speaker                                              Home     My Network   Jobs
         PyCon TW 2017

         Science and Technology

         PyCon TW 2017 Speaker
         > How we use Deep Learning to classify more than 180,000 photos
                                                                      …see
                                                                         a day
                                                                            more


         Speaker
         台灣人工智慧年會

         Science and Technology

         AICon TW 2017 (台灣人工智慧年會)
         > Real Time Human Body Segmentation on Mobile Device with Deep
                                                                    …see more




Skills
Python
    Endorsed by Kilik Kuo who is highly skilled at this

    Endorsed by 5 colleagues at Cheetah Mobile

    17 endorsements



C++
    Endorsed by Wei-zhi Liao who is highly skilled at this

    Endorsed by 3 colleagues at Cheetah Mobile

    13 endorsements



Software Development
    Endorsed by 4 colleagues at Cheetah Mobile

    13 endorsements


                               Show all 10 skills



Patents
Method and device for processing picture


            URL: https://www.linkedin.com/in/bradchangycc/
 Case 3:22-cv-05711
           2022-06-21Document  1 Filed
                      - Brad Chang's    10/04/22
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                            p         gp
US US20190279336A1 · Issued Sep 12, 2019                                         1

                                                                 Home      My Network   Jobs
  See patent

Embodiments of the present disclosure provide a method and a device for
processing a picture and an electronic device. The method includes scaling …see
                                                                           a rawmore




Projects
CMS Privacy scan and protection
Jun 2014 - Present

     Associated with Cheetah Mobile

Other creators




Languages
English
Professional working proficiency


Mandarin
Native or bilingual proficiency




Interests
Influencers       Companies        Groups        Schools


          Bill Gates
          Co-chair, Bill & Melinda Gates Foundation
          35,691,345 followers

               Follow




              URL: https://www.linkedin.com/in/bradchangycc/
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                      EXHIBIT L
                             Case 3:22-cv-05711 Document 1 Filed 10/04/22 Page 66 of 76



                 2022-08-09 – Privacy Policy of AppUpdater for Whats Plus 2021 GB Yo FM HeyMods



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    ~W-~fiWE~.


Our Privacy Statement

AppUpdater for Whats Plus 2021 GB Yo FM HeyMods ("AppUpdater for W hats Plus
2021 GB Yo FM HeyMods","w e," "us" or "our" ) provides tools for users to browse
pictures and videos from online, also provides the function to edit those pictures and
share to social medias.
By using t he Application, you are agreeing to this Privacy St atement If you do not agree,
then do not use the Applicat ion. We may change this Privacy Statement from time to
time. We encourage you to review the Privacy Statement w henever you access the
Services or otherwise interact with us to stay informed about our infornration practices
and the choices available to you.
This Privacy Statement does not apply to the pract ices of third parties that we d o not
ow n or control, including those messaging and social media Applications you are using.
We encourage you to carefully review t he privacy policies of any third -party services you
access.

What Information Do We Collect From You?
We may collect and store Technical Data and Device information such as network
connection type (e.g., WiFi, 3G, 4G), browser type, language, operati ng system,your
provider, network and device performance, the unique device identifier assigned to that
device by phone makers, carriers, or maker s of the operating system, application
status.usage statistic, your usage The only purpose is to improve our service, to make
the application run faster and use less storage and data.
To provide free service all the time, we may offer advertisement display We may
combine your Device ID or your Advertising ID with non-personally-identifiable
information in order to allow us to uniquely identify your device for purposes of storing
specific and aggregate usage preferences and data.

Who do we share information we collected with?
We have strong policy to protect our users privacy, so any tech data or usage status we
collected will only be used for improving our service or display prefered advertisements.
We only choose trustable advertisement providers such as Google Ad or third parties
such as lnstagram.
We encourage you to review t heir privacy policies on their websites.


Copyright Policy:
We suggest you don't edit or collect any unclear copyright images from unclear
resource. All the images and videos are provided by certain social media accounts and
all the credits belong to certain meme creators. We suggest users to make sure no
infringement images are collected and used from online.
If any images has allegedly infringement please contact · gb.wamods@.gmail.com , with
signature ot a person autnor1zed to act on behalt ot me owner ot the copyright that has
been allegedly infringed; Ident ification of the material that is claimed to be infringing
including information regarding the location of the infringing materials t hat the copyright
owner seeks to have removed, with sufficient detail so that Company is capable of
finding and verifying its existence; We will remove the material cited in :he not ice.




                               URL: https://whatsappupdater.web.app/whatsapp-updater-privacy.html
                                                 &cd=1&hi=zh-TW&ct=clnk&gl=us
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                      EXHIBIT M
Case 3:22-cv-05711    Document 1 Filed 10/04/22 Page 68 of 7
                2022-08-08 - Privacy Policy of Theme Store for Zap


      GBAPPS.COM I GBWhatsAP-P- APK                                                                                              0 Portugues   Dilsinho N6brega




           Our Privacy Statement
           1 Comentiirio / WhatsAR:R: / Por GBWhatsAR:R:


           Theme Store for Zap ("Theme Store for Zap","we,' "us" or "our" ) provides tools for users to
           browse pictures and videos from online, also provides the function to edit those pictures and
           share to social medias


           By using the Application, you are agreeing to this Privacy Statement If you do not agree, then do
           not use the Application. We may change this Privacy Statement from time to time. We
           encourage you to review the Privacy Statement whenever you access the Services or otherwise
           interact with us to stay informed about our information practices and the choices available to
           you


           This Privacy Statement does not apply to the practices of third parties that we do not own or
           control, including those messaging and social media Applications you are using. We encourage
           you to carefully review the privacy policies of any third-party services you access.


           What Information Do We Collect From You?


           We may collect and store Technical Data and Device information such as network connection
           type (e.g., WiFi, 3G, 4G), browser type, language, operating system,your provider, network and
           device performance, the unique device identifier assigned to that device by phone makers,
           carriers, or maker s of the operating system, application status,usage statistic, your usage. The
           only purpose is to improve our service, to make the application run faster and use less storage
           and data.


           To provide free service all the time, we may offer advertisement display. We may combine your
           Device ID or your Advertising ID with non-personally-identifiable information in order to allow
           us to uniquely identify your device for purposes of storing specific and aggregate usage
           preferences and data.


           Who do we share information we collected with?


           We have strong policy to protect our users privacy, so any tech data or usage status we collected
           will only be used for improving our service or display prefered advertisements. We only choose
           trustable advertisement providers such as Google Ad or third parties such as lnstagram


           We encourage you to review their privacy policies on their websites.


           Copyright Policy:


           We suggest you don't edit or collect any unclear copyright images from unclear resource. All the
           images and videos are provided by certain social media accounts and all the credits belong to
           certain meme creators. We suggest users to make sure no infringement images are collected
           and used from online


           If any images has allegedly infringement please contact: gb.wamods@gmail.com , with
           signature of a person authorized to act on behalf of the owner of the copyright that has been
           allegedly infringed; Identification of the material that is claimed to be infringing including
           information regarding the location of the infringing materials that the copyright owner seeks to
           have removed, with sufficient detail so that Company is capable of finding and verifying its
           existence; We will remove the material cited in the notice.




           1 comentario em "Our Privacy Statement"




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           O seu endere�o de e-mail nao sera publicado. Campos obrigat6rios sao marcados com*



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                                         URL: https://gbapps.com/our-privacy-statement/
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            Case 3:22-cv-05711  Document
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                                                                                        Andrea Traut
                                                                              atraut@perkinscoie.com
                                                                                 D. +1.214.259.4940




July 7, 2022



VIA EMAIL AND INTERNATIONAL MAIL


Zhou Li (周立)
Wang Damei (王大妹)
Yao Yao (姚峣)
Xue Min (薛旻)
Brad Cheng (張宴晟)

d/b/a HeyMods

Beijing Luokai Technology Co., Ltd
No. 717, Unit 2, 7th Floor, Building 18, No. 7A, Tongji Middle Road, Beijing Economic and
Technological Development Zone, Beijing

Rockey Tech HK Ltd
Unit 507, 5/F., New East Ocean Centre, No. 9 Science Museum Road, Tsim Sha Tsui East,
Kowloon, Hong Kong, China

ChitChat Technology Ltd.
17 F., No. 97, Songren Rd., Xinyi Dist., Taipei City 11073, Taiwan (R.O.C.)

contact@heymods.com
support@highlight.mobi
business@highlight.mobi
hr@imchitchat.com

Re: CEASE AND DESIST ABUSE OF WHATSAPP AND META - HeyMods

Dear all:
                   Case 3:22-cv-05711  Document
                                 2022-07-07      1 &
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We represent WhatsApp LLC (“WhatsApp”) and Meta Platforms, Inc. (“Meta,” previously
known as Facebook Inc.), both based in Menlo Park, California. Meta acts as WhatsApp’s service
provider for security-related issues. WhatsApp and Meta have gathered evidence that you have
developed and distributed–using the website heymods.com (“Site”) and other third-party
platforms, including Google Play Store, APKPure, APKSFree, iDescargar, and Malavida–multiple
unofficial apps (including, by way of example only, HeyWhatsApp and GBWHATSAPP) that
enable users to access, download, and use unauthorized versions of the WhatsApp Services
(collectively, the “Unofficial Clients”). WhatsApp and Meta have further gathered evidence that
apps you are hosting and distributing on heymods.com contain malware that collects self-
compromised WhatsApp account keys, and exfiltrates and reuses the account keys to improperly
access and use WhatsApp accounts without authorization and for improper use, including spam.
You and your Unofficial Clients have also impermissibly and repeatedly infringed WhatsApp’s
trademarks. These activities violate WhatsApp and Meta terms and policies.

WhatsApp and Meta demand that you stop these activities immediately. Further, Meta
demands that you submit to a review, inspection, and audit of your and your service
providers’ information technology systems (real and virtual), networks, technologies, and
facilities (including physical and remote access to data centers and cloud facilities) that
process data obtained from the Meta Platform. See Section7.c of the Meta Platform Terms,
https://developers.facebook.com/terms/dfc_platform_terms/;  Meta    Developer     Policies,
https://developers.facebook.com/devpolicy/.

WhatsApp and Meta take the protection of the user experience very seriously and are committed
to keeping their products safe for users to interact and share information. WhatsApp and Meta
have developed terms and policies to protect the user experience and facilitate these goals.

WhatsApp Terms of Service prohibit–whether directly, indirectly, through automated or other
means–from, among other things:

    ● Exploiting WhatsApp’s Services (“WhatsApp Services”) in impermissible or
      unauthorized manners, or in ways that burden, impair, or harm WhatsApp, its Services,
      systems, its users, or others;

    ● Reverse engineering, altering, modifying, creative derivative works from, decompiling,
      or extracting code from WhatsApp Services;

    ● Sending, storing, or transmitting viruses or other harmful computer code from or onto
      WhatsApp Systems;

    ● Gaining or attempting to gain unauthorized access to WhatsApp Services or systems;

    ● Interfering with or disrupting the safety, security, confidentiality, integrity, availability,
      or performance of WhatsApp Services;


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    ● Collecting information of or about WhatsApp users in any impermissible or unauthorized
      manner;

    ● Selling, reselling, renting, or charging for WhatsApp Services or data obtained from us or
      our Services in an unauthorized manner;

    ● Creating software or APIs that function substantially the same as our Services and offer
      them for use by third parties in an unauthorized manner;

    ● Using the WhatsApp Services in ways that violate, misappropriate, or infringe the rights
      of WhatsApp or its users, including privacy, publicity, intellectual property, or other
      proprietary rights;

    ● Using WhatsApp for non-personal purposes without WhatsApp’s authorization; and

    ● Assisting others in violating WhatsApp’s Terms of Service.

See WhatsApp Terms of Service, https://www.whatsapp.com/legal/terms-of-service.

In addition to the aforementioned violations, your Unofficial Clients and promotion thereof
infringe on WhatsApp’s intellectual property rights protecting its trademarks and logos.
Trademark infringement is the unauthorized use of a trademark or service mark on or in connection
with goods and/or services in a manner that is likely to cause confusion, deception, or mistake
about the source of the goods and/or services. By using WhatsApp trademarks, or any confusingly
similar marks without WhatsApp’s prior written permission, you are infringing on WhatsApp’s
legally protected intellectual property. You cannot use a name that is similar to or includes
“WhatsApp,” and/or logos that look like or mimic WhatsApp’s logos or icons. See Copyright Act,
17 U.S.C. § 101 et seq.; Lanham Act, 15 U.S.C. Chapter 22; WhatsApp Terms of Service; Meta
Terms of Service, https://www.facebook.com/terms.php; Instagram Terms of Use,
https://help.instagram.com/581066165581870.

Accordingly, WhatsApp and Meta have taken technical steps to deactivate your accounts and
hereby revoke your limited licenses to access or use WhatsApp’s Services and Meta Products,
including Facebook and Instagram. This means that you, your agents, your employees, and/or
anyone acting on your behalf (collectively “You” or “Your”) are no longer authorized to
access or use any of the WhatsApp Services or Meta Products, including the Facebook or
Instagram websites, mobile applications, Platforms, services, or networks for any reason.
WhatsApp and Meta will treat any further activity by You on the WhatsApp Services or Meta
Products as an intentional and unauthorized intrusion on the companies’ networks.




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WhatsApp and Meta demand that you respond to this letter in writing within 48 hours,
confirming that You:

    ● Will submit to an audit by Meta as described in and required by Section 7.c of the Meta
      Platform Terms;

    ● Have preserved and will continue to preserve in the future all information related to the
      activities described herein;

    ● Have stopped all development, distribution, promotion, operation, sale, and offering of
      Your Unofficial WhatsApp Clients and any other WhatsApp-related services at all
      distribution points, including websites and social media accounts;

    ● Will not in the future develop, distribute, promote, operate, sell, and/or offer Your
      WhatsApp-related services or any like code, products, services, tools, or resources;

    ● Will account for and disgorge any and all revenue earned from Your unauthorized activities
      on the WhatsApp Services, including Your Unofficial WhatsApp Clients;

    ● Have stopped and will not in the future offer any services connected to WhatsApp via any
      means; and

    ● Will, following the accounting required below and only after my specific instruction, delete
      all data obtained from WhatsApp and Meta.

Along with Your written response, You must provide the following information:

    ● A list of each and every app you own, operate, or access to provide your services;

    ● A complete list of Your Unofficial Clients, including all applications and versions thereof;

    ● A complete list of Your Unofficial Clients through which you have obtained data from
      WhatsApp, Meta or any of their affiliate companies;

    ● A detailed description of the methods You used to obtain data from WhatsApp, Meta or
      any of their affiliate companies;

    ● A complete accounting of each sale of Your WhatsApp-related software, tools, and/or
      services, including the contact information for each purchaser, a description of what was
      included in each sale, and the revenue that You received for each sale;

    ● A complete accounting of all data that You obtained from WhatsApp, Meta, or any of their
      affiliate companies, including all parties with which such data was shared, and a
      certification that this information has been deleted and destroyed (only after I have
      instructed you to delete such information);
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    ● A copy of each version of any software code that You have developed or used to interact
      with WhatsApp, Meta, or any of their affiliate companies—including any client-side code,
      server-side code, libraries, frameworks, or other code, and the source for that code if it is
      not of Your own development—and a description of whether you paid money or other
      consideration to acquire said code, and if so, the amount thereof;

    ● A list of each and every WhatsApp, Facebook, and Instagram account you hold, operate,
      or access to provide your services; and

    ● A list of each and every domain you own, operate, or access to provide your services.

If you ignore this letter and continue your current improper conduct, WhatsApp and Meta will take
whatever measures it believes are necessary to enforce its rights, maintain the quality of its
services, and protect its users’ privacy and information.

This letter may not contain a complete list of all of WhatsApp’s or Meta’s rights or the terms you
may have violated. This letter is not intended by WhatsApp or Meta, and should not be construed
by You, as a waiver or relinquishment of any of WhatsApp’s or Meta’s rights or remedies in this
matter. WhatsApp and Meta specifically reserve all such rights and remedies, whether at law or in
equity. Finally, please note that you are legally required to preserve all documents, tangible things,
and electronically stored information in any way connected to the issues addressed in this letter.

We look forward to hearing from you.

Sincerely,



Andrea Traut

cc:
heywateam@gmail.com
gb.wamods@gmail.com
cutebrady@gmail.com
787493263@qq.com
y.y@wuren.com
xinmeifb@163.com
zhoulisei@126.com
justxuemin@gmail.com




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                      EXHIBIT O
                    2022-09-28Case
                                - Defendants'     July 18,
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      YoWhatsApp 2022 Channel by HeyMods                                    Q 'earcr
      19.4K subscribers


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                                                                                            @heywhatsappschannel

       - HeyMods Indonesian Group : https://t.me/heymodsindonesia
       m• HeyMods Portuguese Group : https://t.me/HeyModsPt                 19.4K           37       9         7         90
                                                                            Subscri bers    Photos   Videos    Files     Links
         Telegram
         HeyMods Portuguese Official                                        https://heymods.com /#YoWhatsApp
         HeyMods Portuguese Offic ial Group
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                                                                                    About     Blog   Apps     Platform

       YoWhatsApp 2022 Channel by HeyMods
,.,
       Dear Al l ,
       Due to some circumstances, the heymods team wi ll stop updating
       apps in the heymods family, i ncluding YOWhatsApp. All future
       support and service of the app and telegram groups will cease from
       today.Thank you for all the understanding and support during this
       period.                                             144K 0 01 55




                               URL: https://t.me/s/heywhatsappschannel/158
